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Presented to the Court by the foreman of the
Grand Jury in open Court, in the presence
of the Grand Jury and FILED in the U.S.
DISTRICT COURT at Seattle, Washington

September 9, 2020

WILLIAM M. McCOOL, Clerk

By ~ NW Deputy

 

 

 

 

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

UNITED STATES OF AMERICA,
Plaintiff

V.
SAMI C. HORNER,

Defendant.

 

 

The Grand Jury charges that:

COUNT 1

AT SEATTLE

NO. CR20-144 RAJ

INDICTMENT

(Unlawful Possession of a Destructive Device)

On or about August 26, 2020, in Seattle, within the Western District of

Washington, SAMI C. HORNER did knowingly possess a destructive device, that is, a

device commonly known as a Molotov cocktail, that was not registered to him in the

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Indictment/Horner - |

UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220
SEATTLE, WASHINGTON 98101
(206) 553-7970
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National Firearms Registration and Transfer Record.
All in violation of Title 26, United States Code, Sections 5861(d) and 5845(a)(8).

A TRUE BILL:
DATED: Svghw he \\ Lo
(Signature of Foreperson redacted pursuant to

the policy of the Judicial Conference of the
United States)

FOREPERSON

 

BRIAN T. MORAN
14] United States Attorney

 

OPAC REENBERS
ssistawt United States Attorney

Cs

HOMAS M. WOODS
Retin United States Attorney

 

Indictment/Horner - 2

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